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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF ARKANSAS
                             CENTRAL DIVISION

DeLARRON KEITH WASHINGTON                                                     PLAINTIFF
ADC #103179

v.                          CASE NO. 4:24-CV-00090-BSM

DEXTER PAYNE, et al.                                                       DEFENDANTS

                                         ORDER

       After de novo review of the record, including DeLarron Washington’s objections

[Doc. No. 10], United States Magistrate Judge Joe J. Volpe’s recommended disposition [Doc.

No. 7] is adopted. Washington’s complaint is dismissed without prejudice for failure to state

a claim upon which relief may be granted. It is recommended that this dismissal count as a

“strike” within the meaning of 28 U.S.C. § 1915(g), and an in forma pauperis appeal from

this order would not be taken in good faith. 28 U.S.C. § 1915(a)(3).

       IT IS SO ORDERED this 13th day of March, 2024.




                                                    UNITED STATES DISTRICT JUDGE
